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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 1:23-MD-3076-MOORE


  In re:

  FTX CRYPTOCURRENCY
  EXCHANGE COLLAPSE
  LITIGATION
  _________________________________/

                  CERTIFICATE OF UNDERSTANDING REGARDING
            ELECTRONIC FILING IN THE SOUTHERN DISTRICT OF FLORIDA

           I, _____________________________________, the undersigned, do hereby certify that:

           1. I am a member of good standing of the Bar of ________________________________.

          2. I have studied, understand, and will abide by the Local Rules for the Southern District
  of Florida.

       3. I have studied, understand, and will abide by the Administrative Procedures governing
  CM/ECF procedures in the Southern District of Florida.

         4. I will only use this electronic filing privilege in the matter captioned above and in no
  other case in the Southern District of Florida, even if I have been granted pro hac vice status in
  another case in the Southern District of Florida.

          5. I understand and agree that any misuse of this electronic filing privilege will be brought
  to the attention of the Honorable K. Michael Moore and that this privilege may be revoked at
  any time without notice.

          6. If any of the information below changes during the course of this action, I shall file a
  notice of such change in the MDL action, and I shall update my CM/ECF user account pursuant
  to the Administrative Procedures.

           Name
           State Bar Number
           Firm Name
           Mailing Address
           Telephone Number
           Email Address

  Attorney Signature: ________________________________                 Date: ___________________
